                                                                                                                                                                           9/27/18 6:16PM


 Fill in this information to identify your case and this filing:

 Debtor 1                    Sean Michael Sabolesky
                             First Name                                 Middle Name                     Last Name

 Debtor 2                    Kerri Ann Sabolesky
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF OHIO

 Case number            18-52205                                                                                                                                  Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1647 Redwood Ave
                                                                                       Single-family home                        Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description
                                                                                        Duplex or multi-unit building             the amount of any secured claims on Schedule D:
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                  
                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the         Current value of the
        Akron                             OH        44301-0000                         Land                                      entire property?             portion you own?
        City                              State              ZIP Code                  Investment property                                $63,960.00                   $63,960.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                     (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                             Fee simple
        Summit                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another
                                                                                                                                      (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:

                                                                                Situated in the City of Akron, County of Summit an State of Ohio: and
                                                                                known as being all of lot no. 161 in the Hillcrest Park Holmes Subdivision
                                                                                No. 2 recorded in plat book 40, page 78 of teh Summit County Records of
                                                                                Plats. PPN 6846651


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                          $63,960.00

 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                     page 1
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 Debtor 1        Sean Michael Sabolesky
 Debtor 2        Kerri Ann Sabolesky                                                                                 Case number (if known)      18-52205

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1    Make:       Accord                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Honda                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2007                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                  75,000           Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        Good condition
                                                                Check if this is community property                                    $2,000.00                 $2,000.00
                                                                     (see instructions)



  3.2    Make:       Honda                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Civic                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2000                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                192,000            Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        Fair conddition
                                                                Check if this is community property                                       $500.00                   $500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $2,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Miscellaneous household furnishing                                                                                             $1,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
     No
     Yes. Describe.....
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes. Describe.....


Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 1          Sean Michael Sabolesky
 Debtor 2          Kerri Ann Sabolesky                                                                                        Case number (if known)   18-52205

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.       Describe.....

                                            Miscellaneous wearing apparel                                                                                              $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
     No
     Yes. Describe.....
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                             $2,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
     Yes................................................................................................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:

                                                          Checking &
                                              17.1.       Savings                                Fifth Third                                                           $1,000.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:



Official Form 106A/B                                                                      Schedule A/B: Property                                                              page 3
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 Debtor 1        Sean Michael Sabolesky
 Debtor 2        Kerri Ann Sabolesky                                                                        Case number (if known)      18-52205

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
     No
     Yes. Give specific information about them...................
                                          Name of entity:                                                    % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                        Type of account:                  Institution name:

                                        401k                              401k - Husband's employer                                                     $1,500.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
Official Form 106A/B                                                 Schedule A/B: Property                                                                    page 4
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 Debtor 1        Sean Michael Sabolesky
 Debtor 2        Kerri Ann Sabolesky                                                                                              Case number (if known)       18-52205

     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
    No
     Yes.      Give specific information..

                                                          Potential claim against employer for improper deductions                                                             $1,500.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                             Company name:                                                            Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................               $4,000.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above




Official Form 106A/B                                                           Schedule A/B: Property                                                                                 page 5
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 Debtor 1         Sean Michael Sabolesky
 Debtor 2         Kerri Ann Sabolesky                                                                                                   Case number (if known)   18-52205


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $63,960.00
 56. Part 2: Total vehicles, line 5                                                                             $2,500.00
 57. Part 3: Total personal and household items, line 15                                                        $2,500.00
 58. Part 4: Total financial assets, line 36                                                                    $4,000.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $9,000.00             Copy personal property total               $9,000.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $72,960.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 6
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 Fill in this information to identify your case:

 Debtor 1                 Sean Michael Sabolesky
                          First Name                        Middle Name                     Last Name

 Debtor 2                 Kerri Ann Sabolesky
 (Spouse if, filing)      First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number           18-52205
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      1647 Redwood Ave Akron, OH 44301                                                                                           Ohio Rev. Code Ann. §
      Summit County
                                                                     $63,960.00                                $100,000.00
                                                                                                                                 2329.66(A)(1)
      Situated in the City of Akron, County                                              100% of fair market value, up to
      of Summit an State of Ohio: and                                                         any applicable statutory limit
      known as being all of lot no. 161 in
      the Hillcrest Park Holmes
      Subdivision No. 2 recorded in plat
      book 40, page 78 of teh Summit
      County R
      Line from Schedule A/B: 1.1

      2007 Accord Honda 75,000 miles                                                                                             Ohio Rev. Code Ann. §
      Good condition
                                                                      $2,000.00                                   $3,500.00
                                                                                                                                 2329.66(A)(2)
      Line from Schedule A/B: 3.1                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      2000 Honda Civic 192,000 miles                                                                                             Ohio Rev. Code Ann. §
      Fair conddition
                                                                          $500.00                                 $1,500.00
                                                                                                                                 2329.66(A)(2)
      Line from Schedule A/B: 3.2                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      Miscellaneous household furnishing                                                                                         Ohio Rev. Code Ann. §
      Line from Schedule A/B: 6.1
                                                                      $1,500.00                                   $2,500.00
                                                                                                                                 2329.66(A)(4)(a)
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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 Debtor 1    Sean Michael Sabolesky
 Debtor 2    Kerri Ann Sabolesky                                                                         Case number (if known)     18-52205
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Miscellaneous wearing apparel                                                                                                Ohio Rev. Code Ann. §
     Line from Schedule A/B: 11.1
                                                                      $1,000.00                                 $1,000.00
                                                                                                                                  2329.66(A)(4)(a)
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking & Savings: Fifth Third                                                                                              Ohio Rev. Code Ann. §
     Line from Schedule A/B: 17.1
                                                                      $1,000.00                                   $950.00
                                                                                                                                  2329.66(A)(3)
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking & Savings: Fifth Third                                                                                              Ohio Rev. Code Ann. §
     Line from Schedule A/B: 17.1
                                                                      $1,000.00                                   $200.00
                                                                                                                                  2329.66(A)(18)
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     401k: 401k - Husband's employer                                                                                              Ohio Rev. Code Ann. §
     Line from Schedule A/B: 21.1
                                                                      $1,500.00                                 $5,000.00
                                                                                                                                  2329.66(A)(10)(c)
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Potential claim against employer for                                                                                         Ohio Rev. Code Ann. §
     improper deductions
                                                                      $1,500.00                                 $2,300.00
                                                                                                                                  2329.66(A)(18)
     Line from Schedule A/B: 30.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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Fill in this information to identify your case:

Debtor 1                      Sean Michael Sabolesky

Debtor 2                      Kerri Ann Sabolesky
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF OHIO

Case number               18-52205                                                                       Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                          A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                                Not employed
       employers.
                                             Occupation                                                         Homemaker
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Summit Testing & Inspection

       Occupation may include student        Employer's address
                                                                   910 Whitepond
       or homemaker, if it applies.
                                                                   Akron, OH 44320

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $         2,698.04        $            0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      2,698.04               $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                      page 1


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Debtor 1    Sean Michael Sabolesky
Debtor 2    Kerri Ann Sabolesky                                                                   Case number (if known)   18-52205


                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $         2,698.04      $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.     $           251.59      $                0.00
      5b.   Mandatory contributions for retirement plans                                   5b.     $             0.00      $                0.00
      5c.   Voluntary contributions for retirement plans                                   5c.     $             0.00      $                0.00
      5d.   Required repayments of retirement fund loans                                   5d.     $             0.00      $                0.00
      5e.   Insurance                                                                      5e.     $             0.00      $                0.00
      5f.   Domestic support obligations                                                   5f.     $             0.00      $                0.00
      5g.   Union dues                                                                     5g.     $             0.00      $                0.00
      5h.   Other deductions. Specify:                                                     5h.+    $             0.00 +    $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            251.59      $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,446.45      $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.     $              0.00     $                0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $                0.00
      8d. Unemployment compensation                                                        8d.     $              0.00     $                0.00
      8e. Social Security                                                                  8e.     $              0.00     $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                 0.00   $                  0.00
      8g. Pension or retirement income                                                     8g. $                  0.00   $                  0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                  0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $               0.00     $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           2,446.45 + $              0.00 = $           2,446.45
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $           2,446.45
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                         page 2


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Fill in this information to identify your case:

Debtor 1                Sean Michael Sabolesky                                                              Check if this is:
                                                                                                             An amended filing
Debtor 2                Kerri Ann Sabolesky                                                                  A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                   13 expenses as of the following date:

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF OHIO                                              MM / DD / YYYY

Case number           18-52205
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                           Yes.   Fill out this information for
                                                   each dependent..............
                                                                                    Dependent’s relationship to
                                                                                    Debtor 1 or Debtor 2
                                                                                                                         Dependent’s
                                                                                                                         age
                                                                                                                                            Does dependent
                                                                                                                                            live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                             Child                                15                  Yes
                                                                                                                                             No
                                                                                    Child                                20                  Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                         Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                                680.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.    $                                0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                  4c.    $                               50.00
      4d. Homeowner’s association or condominium dues                                                      4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.    $                                0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                                page 1



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Debtor 1     Sean Michael Sabolesky
Debtor 2     Kerri Ann Sabolesky                                                                       Case number (if known)      18-52205

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 100.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  75.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                 6c. $                                                  75.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                850.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 75.00
10.   Personal care products and services                                                    10. $                                                  75.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 225.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  230.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       2,435.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       2,435.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,446.45
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,435.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                  11.45

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2



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 Fill in this information to identify your case:

 Debtor 1                  Sean Michael Sabolesky
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Kerri Ann Sabolesky
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number           18-52205
 (if known)
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                  4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
        Not married
2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
        Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                                Dates Debtor 2
                                                                 lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

        No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)

 From January 1 of current year until               Wages, commissions,                        $20,773.00          Wages, commissions,                          $0.00
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business




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 Debtor 1      Sean Michael Sabolesky
 Debtor 2      Kerri Ann Sabolesky                                                                         Case number (if known)   18-52205

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                            Wages, commissions,                        $34,308.52          Wages, commissions,                       $0.00
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business

 For the calendar year before that:                 Wages, commissions,                        $32,000.00          Wages, commissions,                       $0.00
 (January 1 to December 31, 2016 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
       Yes. Fill in the details.
                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
       No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                      No.         Go to line 7.
                      Yes       List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.      Go to line 7.
                      Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




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 Debtor 1      Sean Michael Sabolesky
 Debtor 2      Kerri Ann Sabolesky                                                                         Case number (if known)    18-52205

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
       Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
       Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

       No
           Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       FEDERAL NATIONAL MORTGAGE                                                                                                      Pending
       ASSOCIATION VS                                                                                                                 On appeal
                                                                                                                                      Concluded

       Federal National Fannie Mae v.                                                       Summit County Common                        Pending
       Sean M Sabolesky                                                                     Pleas                                     On appeal
       CV-2018-04-1710                                                                      205 S High St
                                                                                                                                      Concluded
                                                                                            Akron, OH 44308


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
       Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
       Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
       Yes


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 Debtor 1      Sean Michael Sabolesky
 Debtor 2      Kerri Ann Sabolesky                                                                         Case number (if known)    18-52205

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
       Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
       Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
       Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your        Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                             lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Sremack Law Firm LLC                                                                                                   Sept. 13 2018                $800.00



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
                                                                                                                              made




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 Debtor 1      Sean Michael Sabolesky
 Debtor 2      Kerri Ann Sabolesky                                                                          Case number (if known)   18-52205

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
       Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
       Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
       Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
       Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                               have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
       Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                       have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
       Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                              Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
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 Debtor 1      Sean Michael Sabolesky
 Debtor 2      Kerri Ann Sabolesky                                                                              Case number (if known)   18-52205

      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
       Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.
       Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
       Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6
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 Debtor 1      Sean Michael Sabolesky
 Debtor 2      Kerri Ann Sabolesky                                                                         Case number (if known)   18-52205

are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Sean Michael Sabolesky                                              /s/ Kerri Ann Sabolesky
 Sean Michael Sabolesky                                                  Kerri Ann Sabolesky
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date     September 27, 2018                                             Date      September 27, 2018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 7
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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Sean Michael Sabolesky
 Debtor 2
 (Spouse, if filing)
                       Kerri Ann Sabolesky                                                            1. There is no presumption of abuse
                                                                                                      2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Northern District of Ohio
                                                                                                             applies will be made under Chapter 7 Means Test
                                                                                                             Calculation (Official Form 122A-2).
 Case number           18-52205
 (if known)                                                                                           3. The Means Test does not apply now because of
                                                                                                             qualified military service but it could apply later.

                                                                                                       Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income
  1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
          Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
          Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                  living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                        2,695.00       $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                             0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                             0.00      $               0.00
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
     Gross receipts (before all deductions)                   $     0.00
        Ordinary and necessary operating expenses                        -$     0.00
        Net monthly income from a business, profession, or farm $               0.00 Copy here -> $                   0.00      $               0.00
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                           $      0.00
        Ordinary and necessary operating expenses                        -$     0.00
        Net monthly income from rental or other real property            $      0.00 Copy here -> $                   0.00      $               0.00
                                                                                                       $              0.00      $               0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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 Debtor 1     Sean Michael Sabolesky
 Debtor 2     Kerri Ann Sabolesky                                                                       Case number (if known)   18-52205


                                                                                                    Column A                     Column B
                                                                                                    Debtor 1                     Debtor 2 or
                                                                                                                                 non-filing spouse
  8. Unemployment compensation                                                                      $                  0.00      $            0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $                    0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                        $                  0.00      $            0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                      $                  0.00      $            0.00
                                                                                                    $                  0.00      $            0.00
                  Total amounts from separate pages, if any.                                     + $                   0.00      $            0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $     2,695.00          +$              0.00     =$         2,695.00

                                                                                                                                                  Total current monthly
                                                                                                                                                  income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>             $          2,695.00

              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                                  12b. $         32,340.00

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                 OH

       Fill in the number of people in your household.                        4
       Fill in the median family income for your state and size of household.                                                           13.   $        85,294.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Sean Michael Sabolesky                                             X /s/ Kerri Ann Sabolesky
                Sean Michael Sabolesky                                                     Kerri Ann Sabolesky
                Signature of Debtor 1                                                      Signature of Debtor 2
        Date September 27, 2018                                                    Date September 27, 2018
             MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.



Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 2
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Ohio
             Sean Michael Sabolesky
 In re       Kerri Ann Sabolesky                                                                              Case No.      18-52205
                                                                                Debtor(s)                     Chapter       7

              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S) - AMENDED
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                   1,100.00
              Prior to the filing of this statement I have received                                       $                     465.00
              Balance Due                                                                                 $                     635.00

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 27, 2018                                                        /s/ Rebecca J. Sremack
     Date                                                                      Rebecca J. Sremack 0092313
                                                                               Signature of Attorney
                                                                               Sremack Law Firm LLC
                                                                               2745 South Arlington Road
                                                                               Akron, OH 44312
                                                                               (330) 644-0061 Fax: (330) 644-7241
                                                                               info@sremacklaw.com
                                                                               Name of law firm




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